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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK

Deborah-Lee Adams, individually and on                                 1:21-cv-00753
behalf of all others similarly situated,
                                    Plaintiff,

                      - against -                                 Class Action Complaint

Tops Markets, LLC,
                                                                   Jury Trial Demanded
                                    Defendant

          Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


          1.    Tops Markets, LLC (“defendant”) manufactures, markets, labels and sells 100% Pure

Coffee, French Roast, Ground Coffee, Dark Roast, under its TOPS private label brand, in cans of

11.5 OZ (326 g), which claims to make 90 cups of coffee (“Product”).

          2.    TOPS private label products are made by third-party manufacturers but sold under

the name of the retailer.

          3.    In recent years, the quality of private label – sometimes referred to as “generic” or

“store brand” – products have increased, such that the quality exceeds that of the major national

brands.

          4.    The TOPS private label products have an industry-wide reputation for quality and

value.
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       5.    TOPS promotes these attributes of its private label offerings on its website.

                                 TOPS Brand Products
       Your family always comes first. And, while it can be difficult to create nutritious
       meals that fit within your schedule and budget, you take pride in what you place
       on your table.
       That's why your friends at TOPS are constantly working to improve our products,
       so that you can give your family delicious, high-quality foods at an affordable
       price. We're excited about the changes we've made to TOPS Brand Products, with
       cleaner, simpler ingredients and great new packaging on more than 2,000
       products. We'll continue to work hard every day to provide the taste, quality and
       value you need for a home made happy.
                                          All smiles with
                                      Tops Brand Products




       6.    One of the private label products sold by TOPS is its French Roast, Ground Coffee,

Dark Roast, in cans of 11.5 OZ (326 g).




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        7.    The Product emphasizes its ability to provide “90 CUPS” of coffee prominently on

the front label.

        8.    Elsewhere on the label, consumers are or may be directed to use servings of one

tablespoon to make 90 cups of coffee.

        9.    However, the representation that the Product makes “90 CUPS” of coffee is false,

deceptive and misleading.

        10.   When consumers follow the Product’s directions for use, they will not be able to



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brew anywhere close to ninety (90) cups.

       11.   Independent laboratory analysis determined that the Product can only make seventy-

two (72) cups of coffee, eighteen (18) fewer cups than promised.

       12.   This means that the Product delivers twenty percent fewer cups of coffee than

promised on the label, which is what consumers paid for.

       13.   Through the statement, “90 CUPS,” reasonable consumers will expect no less than

90 cups of coffee, when used reasonably and/or according to the label’s directions.

       14.   No reasonable consumer will expect the number of cups is closer to 70 than 90.

       15.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components and features of the Product, relative to itself and other comparable

products.

       16.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes and features of the Product, relative to itself and other

comparable products or alternatives.

       17.   The value of the Product that plaintiff purchased was materially less than their value

as represented by defendant.

       18.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       19.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for them.

       20.   The Product is sold for a price premium compared to other similar products, $3.39

per 11.5 OZ, a higher price than it would otherwise be sold for, absent the misleading

representations and omissions.




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                                           Jurisdiction and Venue

       21.    Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       22.    Upon information and belief, the aggregate amount in controversy exceeds $5

million, including any statutory damages, exclusive of interest and costs.

       23.    Plaintiff Deborah-Lee Adams is a citizen of Vermont.

       24.    Defendant Tops Markets, LLC is a New York limited liability company with a

principal place of business in Williamsville, Erie County, New York and upon information and

belief, at least one member of defendant is not a citizen of the same state as the plaintiff.

       25.    The parties are citizens of different states.

       26.    Venue is proper because defendant is a resident of this district based on its principal

place of business at 6363 Main St Williamsville NY 14221-5855, Erie County, New York.

                                                Parties

       27.    Plaintiff Deborah-Lee Adams is a citizen of Castleton, Rutland County, Vermont.

       28.    Defendant Tops Markets, LLC, is a New York limited liability company with a

principal place of business in Williamsville, New York, Erie County.

       29.    Defendant operates close to 150 supermarkets under the Tops Friendly Markets

brand in New York, Pennsylvania and Vermont.

       30.    Having been founded almost one hundred years ago, Tops has always been known

for high quality, honesty, and value, helping consumers get necessary grocery store staples at

affordable prices.

       31.    Plaintiff bought the Product on one or more occasions within the statute of limitations

for each cause of action alleged, from one or more Tops locations, including at 12 S Main St &,




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Norton Pl, Rutland, VT 05701, in 2020 and/or 2021, among other times.

       32.   Plaintiff bought the Product at or exceeding the above-referenced price.

       33.   Plaintiff relied on the representations identified here – that when following the

directions for use, the Product could provide 90 cups of coffee.

       34.   Plaintiff sought to purchase products with a materially greater amount of ground

coffee than was present.

       35.   Plaintiff did not expect twenty percent fewer cups of coffee.

       36.   Plaintiff did not, nor could be expected to know, that the Product would not provide

the number of cups promised on the label.

       37.   Plaintiff would not have purchased the Products if she knew the representations were

false and misleading.

       38.   Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the claims made by Defendant.

       39.   The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

       40.   Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

                                         Class Allegations

       41.   The class will consist of all Vermont and Pennsylvania residents who purchased the

Product during the statutes of limitations for each cause of action alleged.

       42.   Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.




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       43.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       44.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       45.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       46.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       47.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       48.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                 Vermont Consumer Fraud Act, 9 Vt. Stat. Ann §§ 2451, et seq.

                                   (Consumer Protection Statute)

       49.    Plaintiff incorporates by reference all preceding paragraphs.

       50.    Plaintiff and class members desired to purchase ground coffee which could make the

number of cups promised on the label.

       51.    Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       52.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       53.    Plaintiff relied on the representations.

       54.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.




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                                    Breaches of Express Warranty,
                               Implied Warranty of Merchantability and
                         Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       55.      The Product was manufactured, labeled and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it could make the number of cups promised

on the label.

       56.      Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       57.      This duty is based on Defendant’s outsized role in the market for these type of

Product.

       58.      Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       59.      Defendant received notice and should have been aware of these issues due to

complaints by regulators, competitors, and consumers, to its main offices.

       60.      The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because they were not fit to pass in the trade as

advertised.

       61.      Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

       62.      Defendant had a duty to truthfully represent the Product, which it breached.

       63.      This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area.

       64.      The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant.


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       65.    Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       66.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                                Fraud

       67.    Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that they could make the number of cups promised on the label

       68.    Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       69.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;


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   4. Awarding monetary damages, statutory damages pursuant to any statutory claims and

      interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: June 19, 2021
                                                         Respectfully submitted,

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